Case 2:07-md-01873-KDE-MBN Document 12053 Filed 03/02/10 Page 1 of 1

OFFICE OF THE CLERK

UNTTED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
50G POYDRAS STREET

NEW ORLEANS, LOUISTANA 70130

Date: . March. Ba. 2G
Gail Marin etal

Coachmen Recreational Vehicle Co. LIC 4a
Case No. (Y+-BS50| section N_

Dear Sir:

Please ((issue)5 (re-issue) summons on the /(complaint) (amended

complaint) ( | amended complaint) (third party complaint)
(other : ) to the following:
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(address) “oy a
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Complaint ate. matched, Attorney for Plaintifts

Address {27 Paton. Set
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